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                                                               u.s. DISTRICT COURT
                                                                                   FILED
        IN THE U.S. DISTRICT COURT EASTERN DISTRICT OF ARKMfs=ASD1SiRICT MKANSAS
                            LITTLE ROCK DIVISION	                JUN 28 2011
RON CHRISTOPHER DALE,                             )
                                                  )
                      Plaintiff,                  )
                                                  )
v.                                                ) Case NO.+: 11- CV - 0 529S"
                                                  )
UNION PACIFIC RAILROAD COMPANY,                   )
                                                  )
                                                  )   This case assigned to District~ ';f.fighf
                                                                                      ...
                      Defendant.                  )   and to Magistrate JUdge_-T~()~!!"JL&IIf'-----


Serve:	 Union Pacific Railroad Company
        c/o The Corporation Company
        124 W Capitol Avenue, Suite 1900
        Little Rock, AR 72201




                                       COMPLAINT


       Ron Christopher Dale ("the plaintiff" brings this action for personal injuries he

sustained while working for the Union Pacific Railroad Company ("the Defendant"). For

his Complaint, the Plaintiff for his cause of action states as follows:

                                          COUNT I

                                   GENERAL NEGLIGENCE

                           The Parties. Jurisdiction and Venue

       1.      The plaintiff brings this action for negligence under the Federal

Employer's Liability Act ("FELAn), 45 U.S.C. §§ 51, et seq. This court has jurisdiction

under 45 U.S.C. 56 and 28 U.S.C. 1331. Venue is proper in this Court under 28

U.S.C. § 1391(b).

       2.      At all times relevant, the Plaintiff, was a resident of Olive Branch, Desoto
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County, Mississippi 38654.

      3.      At all times relevant to this lawsuit, the Plaintiff was employed by the

Defendant as a truck driver.

      4.      The Defendant is a Delaware corporation engaged in interstate commerce

by railroad, and in the operation of a system of railways as a common public carrier of

freight for hire between the various states of the United States. At all times relevant to

this Complaint, the Defendant has conducted business in the State of Arkansas. The

Defendant's registered agent for service of process appears in the caption of this

Complaint.

      5.      On or about August 23,2009, while Plaintiff was employed by and working

for Defendant as a truck driver, it became and was his duty to drive a 1996 model

International truck from Memphis to Wynne, Arkansas.        This large thirteen year old hi-

rail truck with a crane had been heavily used over the years and was badly dilapidated.

In fact, the driver's seat, which was an air suspension seat was so dilapidated, the

inside of the seat could be seen, exposing iron and other materials not intended for

exposure. In addition to the poor cushioning, lack of protection and worn condition of

the exterior, the seat's air suspension diet not work properly due to an air leak from one

of the compartments within the seat, consistently causing a crooked and lopsided effect

for seating. Very often the seat would be uneven and go up and down without proper

suspension, positioning and protection. As a direct result of the condition of the seat,

Plaintiff was caused to sustain severe, permanent, painful and disabling bodily injuries

as hereinafter described.




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       6.      As a result of the poor condition of the seat and circumstances requiring

him to repetitively vibrate and bounce without proper alignment of his spine, plaintiff

sustained severe back injury requiring him initially to undergo epidural steroid injections,

the wearing of a brace, and physical therapy. He eventually had multiple MRls, which

showed a disc herniation, was forced to endure work hardening in his condition, and

underwent a total of three surgeries: two hemilaminectomies and disckectomies and

finally, a disckectomy and fusion. Plaintiff's strength, use and function of his body, and

specifically, his back has been permanently weakened, diminished, and impaired.

       7.      At all times relevant to this Complaint, the Defendant had a legal duty

under the Federal Employer's Liability Act to provide the Plaintiff with a safe place to

work, safe working conditions and safe methods for work.

       8.      The Defendant through the acts of its officers, agents, servants and/or the

Defendant's employees other than Plaintiff failed to carry out these responsibilities,

thereby breaching its duty to the Plaintiff by:

               a.     Failing to provide the plaintiff with reasonably safe equipment and

                      work conditions;

               b.     Failing to promulgate, follow, and enforce reasonable rules,

                      customs, practices, policies, and procedures for the protection of

                      the plaintiff;

               c.     Failing to furnish and provide Plaintiff with a reasonably safe place

                      to work and with reasonably safe conditions for work in that

                      Defendant, through its officers, agents, servants, and/or other

                      employees other than Plaintiff caused, permitted and allowed the



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          subject seat to become and to remain in an unsafe and hazardous

          condition when Defendant knew, or in the exercise of ordinary care

          should have known, that it was likely its employees, including

          Plaintiff, would be injured thereby;

    d.	   Failing to furnish and provide Plaintiff with a reasonably safe place

          to work and with reasonably safe conditions for work in that

          Defendant failed to promulgate, follow, and enforce reasonable

          rules, customs, practices, policies, and procedures for keeping the

          vehicle in a safe condition and proper working order for seating and

          driving, when defendant knew, or in the exercise of ordinary care

          should have known, that it was likely its employees, including

          Plaintiff, would be injured thereby.

   e.	    Failing to furnish and provide Plaintiff with a reasonably safe place

          to work and with reasonably safe conditions for work in that

          Defendant failed to inspect the vehicle and seat when Defendant

          knew, or in the exercise of ordinary care should have known, that it

          was likely its employees, including Plaintiff, would be injured

          thereby.

    f.	   Failing to furnish and provide the Plaintiff with a reasonably safe

          place to work and with reasonably safe conditions for work in that

          Defendant failed to maintain the vehicle and its seats in proper

          condition when the defendant knew, or in the exercise of ordinary




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                    care should have known, that it was likely its employees, including

                    Plaintiff, would be injured thereby.

              g.	   Failing to furnish and provide Plaintiff with a reasonably safe place

                    to work and with reasonably safe conditions for work in that

                    Defendant failed to promulgate, follow, and enforce reasonable

                    rules, customs, practices, policies, and procedures requiring regular

                    inspections and maintenance of its vehicles when Defendant knew,

                    or by the exercise of ordinary care should have known that it was

                    likely its employees, including Plaintiff, would be injured thereby.

              h.	   Negligently failing to furnish and provide Plaintiff with a reasonably

                    safe place to work and with reasonably safe conditions for work in

                    that Defendant's agents, servants, and employees, other than

                    Plaintiff, carelessly and negligently left the truck and specifically the

                    driver seat in a state of disrepair when Defendant's agents,

                    servants, and employees, other than Plaintiff, knew or by the

                    exercise of ordinary care should have known, that failing to repair

                    said seat that Plaintiff would likely be injured thereby.

              i.	   Negligently assigned Plaintiff to perform the tasks with a truck that

                    had a defective driver's seat when the Defendant knew or had

                    reason to know that such assignment would reasonably cause

                    injury to its employees, including the Plaintiff.

      9.      The Defendant was negligent in each of the respects outlined in this

Complaint because the Defendant knew, or by the exercise of ordinary care should



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have known, that each alleged failure was reasonably likely to cause the Plaintiff to

suffer bodily injury.

       10.     The Defendant, in each of its negligent acts alleged in this Complaint has

violated the Federal Employer's Liability Act.

       11.     The Defendant's negligence has caused, in whole or in part, the Plaintiff to

suffer the injuries described in Paragraph 6 of this Complaint, and the following

damages: Physical pain and suffering (past, present and future); emotional pain and

suffering (past, present and future); the impairment of his physical ability to perform

work, household, and leisure activities; the reasonable value of necessary medical care

received and expenses incurred as a result of his injuries; the reasonable costs of

medical care necessary in the future; the value of past earnings lost as a result of the

injuries; the value of future earning capacity lost because of the injuries, taking into

consideration the Plaintiff's earning power, age, health, life expectancy, mental and

physical abilities, habits and any other circumstances shown by the evidence; lost fringe

benefits of his employment (both past and future); the reasonable value of necessary

services provided by another in doing things for the Plaintiff; which except for the injury,

Plaintiff would ordinarily have performed himself; and the cash value of such services

reasonably certain to be required in the future.

       WHEREFORE, the Plaintiff seeks a judgment and award of damages in an

amount that is fair and reasonable to compensate him for these injuries and damages

listed in this Complaint, and for all pre-judgment and post-judgment interest allowed by

law; all relief allowed under the Federal Employer's Liability Act; for his costs to bring

this action and for all other relief deemed just and proper by this Court.



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                                         COUNT II


                                  NEGLIGENCE PER SE


                 (FEDERAL MOTOR VEHICLE SAFETY STANDARDS)


       Plaintiff, for his cause of action against the Defendant in this Count II of this

Complaint, states and alleges as follows:

       12.     This action is based upon and brought under the Federal Employers'

Liability Act, 45 U.S.C. §§ 51, et sequitur, and the Federal Motor Vehicle Safety

Standards, 49 C.F.R. § 581.1, et sequitur, as incorporated under Title 49 of U.S.C.,

Chapter 301, Motor Vehicle Safety.

       13.     Plaintiff re-alleges, adopts and incorporates herein each and every

allegation of the statements contained in paragraphs numbered 1-11 of Count I of his

Complaint, the same as if said allegations and statements were herein set forth in their

entirety.

       14.     Defendant negligently and in violation of 49 C.F.R. §§ 581.1, et sequitur,

of the Federal Motor Vehicle Safety Standards specifically, Sub-Part 571, Standard No.

207(Seating Systems), Standard No. 208 (Occupant Crash Protection), Standard No.

209 (Seatbelt Assemblies) and Standard No. 210 (Seatbelt Assembly Anchorages),

failed to comply with these Standards and such failure to comply with these Standards

caused Plaintiff's injuries, when the Defendant knew or by the exercise of ordinary care

should have known that in failing to comply with such Standards, that employees of

Defendant, including Plaintiff, would likely be injured thereby.

       WHEREFORE, Plaintiff prays judgment against Defendant for actual damages,

both pecuniary and non-pecuniary which are fair and reasonable for the injuries



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sustained by Plaintiff, for costs herein incurred and expended, and for such other and

further relief as this Court deems just and proper.



                                     JUry   Trial Demand

       The plaintiff demands a trial by jury for all issues so triable in this lawsuit of this

Complaint. Fed.R.Civ.P. 38(b).




                                            Respectfully submitted,


                                            THE HUBBELL LAW FIRM





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                                            ATTORNEYS FOR PLAINTIFF




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